                   Case 4:11-cr-00156-JM                    Document 745              Filed 11/19/14            Page 1 of 1
         Order Regarding Motion for Sentence Reduction Under 18 U.S.C. § 3582(c)(2)


                                                                                                                            FfLED
                                                                                                                     f:ASr~R5N 8l~~mccrr COURT
                                   UNITED STATES DISTRICT COURT                                                                          ARKANSAS
                                                       Eastern District of Arkansas

                   UNITED STATES OF AMERICA                                                                   ~;ME      ~2.0~4
                                                                                                                        ·~ERK
                                       v.
                                                                                                                                         DE CLERK
                                                                                       Case
                                                                                                     4:11CR00156-021-JLH
                            Nathan Harris Henry                                        Number:
                                                                                       USM           39372-044

Date of Original Judgment:                          February 27. 2013

Date of Previous Amended Judgment: NIA                                                 NIA
(Use Date ofLast Amended Judgment if Any)                                              Defendant's Attorney



       ORDER REGARDING MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(C)(2)

      Upon motion of        D the defendant     D the Director of the Bureau of Prisons      X the court
      under 18 U.S.C. § 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline
      sentencing range that has subsequently been lowered and made retroactive by the United States Sentencing
      Commission pursuant to 28 U.S.C. § 994(u), and having considered such motion, and taking into account
      the policy statement set forth at USSG § lBl.10 and the sentencing factors set forth in 18 U.S.C. § 3553(a),
      to the extent that they are applicable,

      IT IS ORDERED that the motion is:
             DDENIED.
             X GRANTED and the defendant's previously imposed sentence of imprisonment of
                   84 months is reduced to 72 months.




Except as provided above, all provisions of the judgment dated February 27, 2013 will remain in effect.

IT IS SO ORDERED.

Order Date:    NJ• . (~ #Jl'f
                                                                                 United States District Judge

Effective Date: November l, 2015
                (If different from order date)

                                                               Page 1 of 2
